                Case 23-11069-CTG              Doc 418-1        Filed 09/07/23         Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                   )
In re:                                                             )     Chapter 11
                                                                   )
YELLOW CORPORATION, et al.,1                                       )     Case No. 23-11069 (CTG)
                                                                   )
                             Debtors.                              )     (Jointly Administered)
                                                                   )

                                                        Objection Deadline: September 21, 2023 at 4:00 p.m. (ET)
                                                               Hearing Date: October 23, 2023 at 10:00 a.m. (ET)

    NOTICE OF HEARING ON DEBTORS’ APPLICATION PURSUANT TO SECTIONS
         327(e), 328(a), AND 330 OF THE BANKRUPTCY CODE FOR ENTRY
       OF AN ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT
     OF KASOWITZ BENSON TORRES LLP, AS SPECIAL LITIGATION COUNSEL
           TO THE DEBTORS EFFECTIVE AS OF THE PETITION DATE

                  PLEASE TAKE NOTICE that, on September 7, 2023, the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), filed the Debtors’ Application

Pursuant to Sections 327(e), 328(a), and 339 of the Bankruptcy Code for Entry of an Order

Authorizing the Retention and Employment of Kasowitz Benson Torres LLP, as Special

Litigation Counsel to the Debtors Effective as of the Petition Date (the “Application”) with the

United States Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor,

Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the Application is attached

hereto.

                  PLEASE TAKE FURTHER NOTICE that any response or objection to the

Application must be filed with the Bankruptcy Court on or before September 21, 2023 at

4:00 p.m. prevailing Eastern Time.


1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
     place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
     Overland Park, Kansas 66211.



DOCS_DE:244668.1 96859/001
               Case 23-11069-CTG           Doc 418-1          Filed 09/07/23    Page 2 of 3




                 PLEASE TAKE FURTHER NOTICE that at the same time, you must also

serve a copy of the response or objection upon: (i) the Debtors, Yellow Corporation, 11500

Outlook Street, Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (ii) proposed

counsel to the Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654,

Attn.: Whitney Fogelberg (whitney.fogelberg@kirkland.com) and Kirkland & Ellis LLP, 601

Lexington      Avenue,       New   York,     New        York     10022,    Attn.:   Allyson   B.   Smith

(allyson.smith@kirkland.com) and (B) Pachulski Stang Ziehl & Jones LLP, 919 North Market

Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn.: Laura Davis Jones

(ljones@pszjlaw.com),        Timothy   P.     Cairns      (tcairns@pszjlaw.com),      Peter   J.   Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (iii) the Office of United

States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn.:           Jane Leamy (jane.m.leamy@usdoj.gov) and Richard

Shepacarter (richard.shepacarter@usdoj.gov); and (iv) proposed counsel to the Committee,

(A) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, Bank of America Tower, New

York, NY 10036-6745 US, Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A.

Lahaie     (mlahaie@akingump.com),          and       Kevin    Zuzolo     (kzuzolo@akingump.com)     and

(B) proposed co-counsel to the Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313

North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.: Jennifer R. Hoover

(jhoover@beneschlaw.com) and Kevin M. Capuzzi (kcapuzzi@beneschlaw.com).

                 PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED BY THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.




                                                  2
DOCS_DE:244668.1 96859/001
               Case 23-11069-CTG   Doc 418-1       Filed 09/07/23   Page 3 of 3




                 PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER

THE RELIEF SOUGHT IN THE APPLICATION WILL BE HELD ON OCTOBER 23, 2023

AT 10:00 A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE CRAIG T.

GOLDBLATT, UNITED STATES BANKRUPTCY COURT JUDGE, AT THE UNITED

STATES BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE, 824 MARKET

STREET, 3RD FLOOR, COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.


Dated: September 7, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)        Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)        David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)           Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)             KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP          KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor        300 North LaSalle
P.O. Box 8705                              Chicago, Illinois 60654
Wilmington, Delaware 19801                 Telephone:       (212) 446-4800
Telephone:      (302) 652-4100             Facsimile:       (212) 446-4900
Facsimile:      (302) 652-4400             Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                          david.seligman@kirkland.com
                tcairns@pszjlaw.com                         whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com         -and-

                                           Allyson B. Smith (admitted pro hac vice)
                                           KIRKLAND & ELLIS LLP
                                           KIRKLAND & ELLIS INTERNATIONAL LLP
                                           601 Lexington Avenue
                                           New York, New York 10022
                                           Telephone:     (212) 446-4800
                                           Facsimile:     (212) 446-4900
                                           Email:         allyson.smith@kirkland.com

                                           Proposed Co-Counsel for the Debtors and Debtors in
                                           Possession




                                       3
DOCS_DE:244668.1 96859/001
